    Case 9:17-cv-00050-DLC-JCL Document 194 Filed 05/02/19 Page 1 of 2



TIMOTHY C. FOX
Montana Attorney General
JON BENNION
Deputy Attorney General
DALE SCHOWENGERDT
Solicitor General
MATTHEW T. COHENOUR
HANNAH TOKERUD
Assistant Attorneys General
215 North Sanders
P.O. Box 201401
Helena, MT 59620-1401
Phone: 406-444-2026
Fax: 406-444-3549
jonbennion@mt.gov
dales@mt.gov
mcochenour2@mt.gov

COUNSEL FOR INTERVENOR

               UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MONTANA
                    MISSOULA DIVISION

TANYA GERSH,                         Cause No. 9:17-CV-00050-DLC-JCL
                  Plaintiff,
   and

TIMOTHY C. FOX, in his official
capacity as the Attorney General
for the State of Montana,
                  Intervenor,
                                     NOTICE OF WITHDRAWAL
   v.                                OF DALE SCHOWENGERDT

ANDREW ANGLIN,
           Defendant.


                                    NOTICE OF WITHDRAWAL OF DALE SCHOWENGERDT
                                                                        PAGE 1
    Case 9:17-cv-00050-DLC-JCL Document 194 Filed 05/02/19 Page 2 of 2



     Dale Schowengerdt withdraws as counsel in the above-captioned

case because he will soon be leaving the Attorney General’s Office.

Matthew T. Cochenour and Hannah Tokerud, Assistant Attorneys

General, continue to represent Intervenor Timothy C. Fox, in this

matter.

     Respectfully submitted this 2nd day of May, 2019.

                                  TIMOTHY C. FOX
                                  Montana Attorney General
                                  215 North Sanders
                                  P.O. Box 201401
                                  Helena, MT 59620-1401

                                  By:    /s/ Dale Schowengerdt
                                         DALE SCHOWENGERDT
                                         Solicitor General
                                         Counsel for Defendants

                    CERTIFICATE OF SERVICE
     I hereby certify that on this date I electronically filed the foregoing

document with the clerk of the court for the United States District

Court for the District of Montana, using cm/ecf system.

     Participants in the case who are registered cm/ecf users will be

served by the cm/ecf system.

     Dated: May 2, 2019                   /s/ Dale Schowengerdt
                                          DALE SCHOWENGERDT
                                          Solicitor General
                                          Counsel for Defendants


                                    NOTICE OF WITHDRAWAL OF DALE SCHOWENGERDT
                                                                        PAGE 2
